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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA



ISABELLA DIENES,

                     Plaintiff,

                         v.

META PLATFORMS, INC.; FACEBOOK
                                                      Civil Action No. 2:22-cv-01166
HOLDINGS, LLC; FACEBOOK
OPERATIONS, LLC; FACEBOOK
PAYMENTS, INC.; FACEBOOK
TECHNOLOGIES, LLC; INSTAGRAM, LLC;
SICULUS, INC.,

                     Defendants.



  JOINT MOTION TO STAY ALL DEADLINES PENDING DECISION OF JUDICIAL
     PANEL ON MULTIDISTRICT LITIGATION ON MOTION TO TRANSFER

       Plaintiff Isabella Dienes and Defendants Meta Platforms, Inc., Facebook Holdings, LLC,

Facebook Operations, LLC, Facebook Payments, Inc., Facebook Technologies, LLC, Instagram,

LLC, and Siculus, Inc. (collectively, “Meta,” and, together with Plaintiff, the “Parties”), by and

through their respective counsel of record, hereby move the Court to stay all proceedings in the

above-titled case, pursuant to Federal Rule of Civil Procedure 6, pending a transfer decision by

the Judicial Panel on Multidistrict Litigation (the “MDL Panel”), and state the following in support

of the motion:

       1.        On August 1, 2022, Plaintiff Brianna Murden, who is the plaintiff in Murden v.

Meta Platforms, Inc., et al., No. 3:22-cv-01511 (S.D. Ill.), filed a motion with the MDL Panel

(a) seeking to coordinate or consolidate 28 other actions similar to this action and (b) asking the

MDL Panel to transfer the centralized cases to the Northern District of Illinois or the Western
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District of Missouri pursuant to 28 U.S.C. § 1407. See Mot. for Transfer and Coordination or

Consolidation under 28 U.S.C. § 1407, In re Social Media Adolescent Addiction/Personal Injury

Product Liability Litigation, MDL No. 3047 (J.P.M.L.) (the “MDL Transfer Motion”) (attached

as Exhibit A).

       2.        The MDL Panel has ordered that responses to the MDL Transfer Motion shall be

filed by August 30, 2022, and that replies shall be filed by September 6, 2022. Order, In re Social

Media, MDL No. 3047, ECF No. 26. The MDL Panel set a hearing date of September 29, 2022

to consider the MDL Transfer Motion. Order, In re Social Media, MDL No. 3047, ECF No. 6.

       3.        Counsel for Plaintiff Isabella Dienes has designated this case as a related action for

potential inclusion in any coordinated proceeding created by the MDL Panel (see In re: Social

Media, MDL No. 3047, ECF No. 12-1 at 2), and for this reason, the parties agree that all activity

and deadlines in this case should be stayed pending the MDL Panel’s decision. A stay would

promote judicial economy by avoiding the possibility of duplicative litigation, and the Parties

agree that no party would be prejudiced by the issuance of a stay.

       4.        “[T]he power to stay proceedings is incidental to the power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Thus, a district court

“has discretion to stay proceedings pending a decision by the [MDL] Panel regarding transfer.”

Charles A. Wright & Arthur R. Miller, 15 Federal Practice & Procedure Civ. § 3866.1 (3d ed.).

       5.        Courts frequently stay proceedings where, as here, a case is in its early stages and

a decision from the MDL Panel on a motion to transfer is pending. See, e.g., Smith v. Life Invs.

Ins. Co. of Am., No. 207-CV-681, 2008 WL 2222325, at *1 (W.D. Pa. May 29, 2008); see also

Wright & Miller, 15 Federal Practice & Procedure Civ. § 3866.1 n.16 (collecting cases).




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       6.      Stays have already been entered in other actions pending resolution of the MDL

Transfer Motion. See Order, Rodriguez v. Meta Platforms, Inc., No. 3:22-cv-00401 (N.D. Cal.

Aug. 2, 2022), ECF No. 100 (“In light of the JPML proceedings, MDL No. 3047, the case is stayed

pending further order.”); Order, Heffner v. Meta Platforms, Inc., No. 3:22-cv-03849 (N.D. Cal.

Aug. 2, 2022), ECF No. 13 (same); Order, Aranda v. Meta Platforms, Inc., No. 3:22-cv-04209

(N.D. Cal. Aug. 2, 2022), ECF No. 13 (same); Order, Guerrero v. Meta Platforms, Inc. et al., No.

1:22-cv-00750 (D. Del. Aug. 5, 2022), ECF No. 15 (same); Order, Waddell v. Meta Platforms,

Inc. et al., No. 2:22-cv-00112 (N.D. Ga. Aug. 5, 2022), ECF No. 32 (same); Order, Charles v.

Meta Platforms, Inc. et al., No. 1:22-cv-21721 (S.D. Fla. Aug. 8, 2022), ECF No. 21 (same); Order,

Carter v. Meta Platforms, Inc. et al., 3:22-cv-01343 (N.D. Tex. Aug. 8, 2022), ECF No. 11 (same);

Order, Tanton v. Meta Platforms, Inc. et al., No. 3:22-cv-00411 (M.D. Tenn. Aug. 8, 2022), ECF

No. 22 (same); Order, Roth v. Meta Platforms, Inc., et al., No. 1:22-cv-02968 (N.D. Ill. Aug. 9,

2022), ECF No. 18 (same); Order, Estevanott v. Meta Platforms, Inc. et al., No. 6:22-cv-3149

(W.D. Mo. Aug. 9, 2022), ECF No. 17 (same); Order, Harris v. Meta Platforms, Inc. et al., No.

3:22-cv-01420 (D. Colo. Aug. 9, 2022), ECF No. 22 (same); Order, White v. Meta Platforms, Inc.

et al., No. 5:22-cv-00189 (E.D. Ky. Aug. 10, 2022), ECF No. 18 (same); Order, Camacho v. Meta

Platforms, Inc. et al., No. 4:22-cv-01815 (S.D. Tex. Aug. 11, 2022), ECF No. 27 (same); Order,

Isaacs v. Meta Platforms, Inc. et al., No. 1:22-cv-03883 (N.D. Ill. Aug. 11, 2022), ECF No. 19

(same); Order, C.N. et al. v. Meta Platforms, Inc., No. 4:22-cv-4283 (N.D. Cal. Aug. 15, 2022),

ECF No. 19 (same); Order, Martin v. Meta Platforms, Inc., No. 3:22-cv-04286 (N.D. Cal. Aug.

15, 2022), ECF No. 17 (same); Order, Seekford v. Meta Platforms, Inc. et al., No. 4:22-cv-03883

(N.D. Cal. Aug. 15, 2022), ECF No. 18 (same); Order, Craig v. Meta Platforms, Inc. et al., No.

1:22-cv-00087 (W.D. Ky. Aug. 17, 2022), ECF No. 21 (same); Order, Ely v. Meta Platforms, Inc.




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et al., No. 1:22-cv-00268 (S.D. Ala. Aug. 17, 2022), ECF No. 16 (same); Order, Dorsey v. Meta

Platforms, Inc. et al., No. 1:22-cv-01873 (D. Md. Aug. 19, 2022), ECF No. 16 (same).

        7.       Here, this litigation is in its very early stages. Plaintiff filed the Complaint on

August 10, 2022. Meta’s responsive pleading is currently due on October 14, 2022.

        8.       Good cause exists to issue a stay because the case ultimately may be transferred to

another court. Therefore, a stay pending the MDL Panel’s decision would avoid the possibility of

duplicative litigation and therefore serve the interests of judicial economy and efficiency.

        9.       The Parties agree that if this case is not transferred under Section 1407, the

Defendants shall have 30 days from the date of the MDL Panel’s decision to file its response to

the Complaint.

        10.      All Parties respectfully reserve all other rights, including but not limited to with

respect to any position taken by the Parties before the MDL Panel, Plaintiffs’ ability to dismiss

their claims against Defendants during the pendency of the stay, and Defendants’ ability to object

to issues related to service and/or jurisdiction.

       Wherefore, for the foregoing reasons and good cause shown, the Parties respectfully request

that this Court stay all deadlines in this case pending a decision from the MDL Panel. The Parties




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further move that, if this case is not transferred under Section 1407, the Defendants shall have 30

days from the date of the MDL Panel’s decision to file its response to the Complaint.


Dated: August 29, 2022                                Respectfully submitted,

 MORGAN & MORGAN                                      SHOOK, HARDY & BACON L.L.P.


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